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                                UNITED STATES DISTRICT COURT
                                 MIDDLE DISTRICT OF FLORIDA
                                       TAMPA DIVISION


UNITED STATES OF AMERICA,

vs.                                                         CASE NO. 8:10-CR-400-T-EAK-TGW


JAIRO ALVAREZ-CAICEDO
                                            /

                                                  ORDER


        This cause comes before the Court on the defendant’s motions for reduction of sentence, the
requested modification was based on the retroactive application of revised cocaine base sentencing
guidelines (Docs. 126 and 150). The Court also has before it the U.S. Probation Office Amendment
Assessment (Doc. 135) and the response of the government (Doc. 156). The Court has reviewed the
motion, the Amendment Assessment for the United States Probation Office and the government response.
The Court concludes that the defendant is not eligible for a reduction in sentence based on the amended
guidelines and adopts the position that the defendant is not eligible for a reduction in sentence because his
guideline range was not lowered.    Accordingly, it is.


        ORDERED that defendant’s motion for modification of sentence be denied.


        DONE AND ORDERED in Chambers in Tampa, Florida this 9th day of May, 2016.




Copies furnished to: All Counsel of Record
